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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION
 PATENT ARMORY INC.

 v.                                                              Case No.: 6:23-cv-00327-ADA

 ONEPLUS TECHNOLOGY (SHENZHEN)
 CO., LTD.

                                                ORDER

        BE IT REMEMBERED on this day, there was presented to the Court the Motion for Admission

Pro Hac Vice filed by Tony V. Pezzano (“Applicant”), counsel for OnePlus Technology (Shenzhen)

Co., Ltd., and the Court, having reviewed the motion, enters the following order:

        IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and Applicant

may appear on behalf of OnePlus Technology (Shenzhen) Co., Ltd. in the above case.

        IT IS FURTHER ORDERED that Applicant, if he/she has not already done so, shall immediately

tender the amount of $100.00, made payable to: Clerk, U.S. District Court, in compliance with Local

Court Rule AT-1(f)(2).

        IT IS FURTHER ORDERED that if the corresponding Motion for Admission Pro Hac Vice was

e-filed, the attorney who filed the Motion on behalf of the Applicant is directed to notify the Applicant

of this order.

        IT IS FINALLY ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register, via your individual PACER account, as a pro hac vice user within 10 days of the date of this

Order, if he/she has not previously done so on a prior case in this District.

                  SIGNED this the 21st day of September, 2023.




                                                   ALAN D ALBRIGHT
                                                   UNITED STATES DISTRICT JUDGE
